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                    Exhibit
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment




                                                               Evidence Packet P.0848
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                                                                     Evidence Packet P.0849
